Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.7 Page 1 of 22




                         EXHIBIT A
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.8 Page 2 of 22




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                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                          COUNTY OF SAN DIEGO
         ALI NILFORUSHAN,
12                       Plai ntig                       CASE NO.

13
                                                         COMPLAINT AND DEA~D FOR
14       U.S. CENTER FOR SAFESPORT                       JURY TRIAL
15                       Defendant.
                                                         Filed: January 23, 2023
16

17              Plaiutiff Ali Nilfomshau ("Plaintiff'r "Nilforushan"), briugs suit against Defeudant
18      U.S. Ceuter for SafeSport ("SafeSPOIT"), aud upon persoual kuowledge as to Plaintiff s own
19      couduct aud ou iuforiuatiou and belief as to all other matters based upon investigation by
20      cotutsel, alleges as follows:
21                                      I. SUMMARY OF ALLEGATIONS
22              1.      This case arises ffom SafeSport's contrived aud demoustrably false allegations
23      aud malicious persecution of Plaintiff in retaliation for his participation as a wituess iu a
24      separate SafeSport iuvestigatiou iu wluch he tmthftdly refuted the clauus of the clauuaut iu that
25      paiticular iuvestigation. Plaintiff s recollectiou of the eveuts at issue m that investigation not
26      ouly refuted the claiutant's version of events, but apparently conflicted with SafeSport's result-
27      orieuted ageuda to corroborate the claimaut's allegatious agaiust the respoudeut iu that matter.
28
        CASE No.

                                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.9 Page 3 of 22




               2.      SafeSport describes itself as au iudepeudeut uouprofit "[d]edicated solely to

        eudiug sexual, physical, aud emotional abuse ou behalf of athletes everywhere." Accordiug to

        SafeSport, "[a]s reports of sexual abuse in amateur sport made headlines in the 2010s, it had

        become clear: America deserved a safer sport   culture.... Froiu this need, the U.S. Ceuter for
        SafeSport was created." Given a recoguized ueed to protect uuuor athletes, "[t]he Protecting

        Young Victims from Sexual Abuse aud Safe Sport Authorizatiou Act of 2017 codified the U.S.
        Ceuter for SafeSport,... as the uation's safe sport orgauizatiou."

               3.      tu late 2020, a federal law was passed—the Empoweriug Olympic, Paralympic,
        and Amateur Athletes Act of 2020 —which was intended to streugthen safeguards for athletes
10      by, among other thiugs, providiug a reliable anuual fuudiug stream fiom the U.S. Olympic &
        Paralympic Couunittee ("USOPC") "to bolster [accordiug to SafeSpoid] our long-tenn
12      sustaiuability." With that support, SafeSport reiterated its mission, proclaiming, "[w]e will not
13      rest uutil we cau ensure that every athlete everywhere is safe, supported, aud strengtheued."
14             4.      PlaiutiA's a professioual equestriau aud founer Olympiau show jumper who
15      uow makes his liviug trainmg high-level equestriaus, many of whom compete internationally
16      aud at the World Cup level aud aspire to compete on Natious Cup aud Olympic teams. Plaiutiff
17      is also a highly successful equestriau show operator iu Califoruia who has elevated West Coast

18      equestrian shows to a level that has created concern for certain show operators who are unable
19      (or uuwilliug) to successfidly compete against Plaintiff because he cousisteutly invests more
20      resources into the shows he produces, which iu turn has attracted equestrian show jumpers fiom
21      all over the world.

22             5.      The iuitial iuvestigatiou agaiust Plaiutiff arose two years ago, in Febmaiy 2021,

23      wheu an intoxicated claimaut (" Claimant A") augrily coufionted PlaiutiA'due to her uufounded
24      and iucorrect belief that Plaiutiff somehow disagreed with SafeSport's investigatiou of auother
25      Olympic equestriau, Rich Fellers. Regarding Claimaut A's coufioutation of Plaintiff, SafeSport
26      was aware that, in addition to Plaiutiff, there were three eyewituesses to the eveut, all of whom

27      refuted Claunaut A's portrayal of the confioutatiou. Yet, SafeSport opted to iuterview only one
28
        CASE No.

                                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.10 Page 4 of 22




         of the witnesses—a close friend of Claimaut A—who both submitted to au mterview and
         subsequeutly provided a writteu description of the events that squarely refuted the uuderlying
         cotnplaint. Regarding the two other eyewitnesses, neither of whom SafeSport ever coutacted,

         each mulaterally submitted to SafeSport writteu statemeuts also refuting the uuderlyiug

         complaint. Iguoriug all three eyewitness reports, iu a published atmouucemeut, SafeSport

        temporarily suspended Plaintiff from equestrian sports during the middle of an iuternational
        horse show (at which Plaiutiff was traiuiug utultiple high-level equestriaus) aud publicly
        huuuliated him based on clauus that Sa feSport knew were groundless aud berefi of any credible
         evidentiary support.
10              6.      With uo evideutiary support for the temporary ban placed ou Plaintiff aud
        Plaiutiffs iusistence that he be given au emergeucy heariug uuder SafeSport's owu rules,
12       SafeSport Iified the bau several days later. However, unwilliug to clear Plaintiffs name,
13       Safe Spor left the investigatiou opeu aud issued a "uo contact" order against Plaintiff iustructiug

14      huu uot to coutact the widely-discredited claimant.
15              7.      Unable to secure wituess corroboration regardiug Claimaut A's allegatious
16       against Plamtiff, iu March 2021, SafeSport gave Plauttiff uotice of uew allegations, tlus time
17      relating to Plaintiff s relationship with a former girlfriend that dated 14 years bnck to 2007. In
18      response, Plaintiff provided SafeSport with uuimpeachable, iudepeudeut evidence which
19      proved the allegatiou to be false.
20              8.      Iu March 2021, duriug the peudeucy of the investigatious of the allegatious
21       described above, whistleblower employees within SafeSport wrote to Plaintiff warning him,
22       autong other things, "You were targeted by SafeSport because you gave favorable evideuce iu
23       support of auother Respondeut iu auother equestriau case. As you uow know, SafeSport is
24       fimdameutally Imfair. There is uo actual due process of law. Your name was destroyed without
25       auy uotice or heariug."
26              9.      Cousisteut with the SafeSport Whistleblowers'lauus, over the last two years,
27       SafeSport has worked with busmess competitors of Plaiutiff—iuteut on uuuung Plaiutiff out of
28
         CASE No.

                                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.11 Page 5 of 22




        business—aud other untrustworth witnesses to mauufacture wrougful allegatious unfairly

        targetiug Plaintiff. Plaintiff has refuted all allegatious with credible evideuce, except for the
        most receut allegations (issued in November 2022) which SafeSport refuses to disclose to

         Plaiutiff other thau by iuitials of the supposed claunauts and which, therefore, he cauuot refute.
        At all relevaut times, SafeSport has acted with malice iu the persecution of Plaintiff with

         grouudless allegations of misconduct.

                 10.    Also cousisteut with the SafeSport Whistleblowers'laims that SafeSport has

        uufairly targeted Plaiutiff, iu November 2022, oue of the witnesses agaiust Plaintiff ("Wituess
         1"), reported that she had been relentlessly pressured aud coerced by Kurt Fabrizio, a SafeSport

10       iuvestigator, aud auother wituess (a busiuess competitor of Plaintiff) to give false testimouy

         agaiust Plaiutiff. Wituess I reported that while she succumbed to such pressure by giviug
12       SafeSport iuaccurate infounatiou against Plaiutiff, she ultimately decided that she could no
13       louger participate iu ruiniug Plaiutiff s career aud persoual life by providmg false information
14      to SafeSport's investigator.

15               11.     On January 12, 2023, at au equestrian eveut, another wituess ("Wituess 2")—
16      who has supported false allegatious agaiust Plaiutiff—approached Plaintiff iu au attempt to
17       eugage in couversatiou. Plaintiff explaiued that due to the peudiug SafeSport iuvestigatious
18       against him, he would uot speak with her. In response, and in an apparent attempt to make
19       aurends, Witness 2 voluuteered to Plaiutiff, "I dou't waut have auything to do with this

20       auymore. I will call Kmt [Fabrizio] tomorrow aud tell hun to back off."
21               12.     Over ahuost two years, Plaintiff aud indepeudeut witnesses have refuted the
22      uufouuded allegatious agaiust Plaiutiff. Despite the overwhelmiug evidence of no miscouduct
23       aud the passage of ahuost two years, Defeudant has failed aud/or refused to disuuss the charges
24       or close the iuvestigations against Plaintiff.

25               13.    Defendaut, abusiug its positiou of authority over Plaiutiff, has willfully engaged
26       iu egregious aud outrageous couduct coustitutiug au iutentional iuflictiou of emotioual distress.
27      At all tuues relevant to this suit and iu regard to all of the subject claims and causes of action,
28
         CASE No.

                                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.12 Page 6 of 22




        Defendaut's acts aud oiuissions occuned iutentioually aud with actual malice to bann Plaintiff.

         36 U.S.C.     $   220541(d)(2).
                 14.         As au actual aud proximate result of Defendant's extreme, egregious, and

         outrageous couduct, over the last two years, Plaintiff has suffered contiuuous severe emotioual

         distress, iucludiug auguish, depressiou, anxiety, worry, sleeplessuess, shock, public

        humiliation, anger, shame, pervasive stress, racing heart, appetite changes, and fear of losing

        his livelihood. As detailed below, SafeSPOIT acted iuteutioually aud with malice to cause

        PlaiutitFs extreme emotional distress. For these iujuries resultiug &om SafeSport's iuteutioual
         and malicious conduct, Plaintiff seeks to recover compeusatory and punitive damages.
10               15.         Plaiutiff seeks au order eujoiuing Defeudaut froui further persecutiou of him for
        the coutrived allegations that remain pendiug agaiust huu aud awardiug him compeusatory and

12      puuitive damages as well as attorney's fees to the exteut recoverable uuder California and/or
13       federal law, costs, and prejudgment aud post-judgmeut iuterest, as well as any other preluninary
14       or equitable relief the Court deems appropriate.

15                                                     II. PARTIES
16      A.    Plaintiff
17               16.         PlaiutiA'Ali Nilforushau is a resident of Sau Diego Couuty, California.

18       B.   Defendant
19               17.         Defendaut U.S. Ceuter for SafeSport ("SafeSpoit") is a uouprofit corporation
20      with its principa place of business iu Deuver, Colorado.
21               18.         SafeSport has authority under federal law to iuvestigate aud resolve allegations
22       of physical, emotional, or sexual abuse aud other miscouduct coucemiug iudividuals who
23      participate iu the Olympic & Paralympic Movemeut, iucludiug those events, programs,
24       activities, aud/or competitions under the oversight of the U.S. Olympic & Paralympic
25       Couunittee, the uatioual goveiituig bodies, aud/or their local affiliated organizations.
26               19.         SafeSport was established uuder 36 U.S.C.   II   220541. By statute, auy action by

27       SafeSport against an iudividual within its jurisdiction is required to be "earned out in a manner
28
         CASE No.

                                             COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.13 Page 7 of 22




         that provides procedural due process to the individual." 36 U.S.C.                 tJ   220541(a)(l)(H).
         SafeSport's policies aud procedures are guided by the SafeSport Code for the U.S. Olympic

         and Paralympic Movement ("SafeSport Code" ).

                                           III. JURISDICTION AND VENUE
                 20.     This Court has jiudsdiction over Defendaut SafeSport as it regularly couducts

        business throughout Califonua, including in Sau Diego County.                      SafeSport regularly

         iuvestigates and prosecutes clauns and complaiuts m Sau Diego Couuty, Califonua aud has a
         substautial couuection with the fonuu State. SafeSport's &equent aud persistent activities in

        the State of California are such that the exercise of jurisdiction over SafeSport does not offeud
10       traditioual notious of fair play aud substautial justice.

                 21.     Veuue is appropriate iu this couuty because the injuries giviug rise to the alleged

12       causes of action occiured in Sau Diego Couuty and because Plaintiff resided iu San Diego
13       County at all times relevant to this suit. See CAL. C.C.P.   $   395(a). Veuue is also appropriate iu
14      this couuty because San Diego Couuty is the couuty iu which the causes, or some part of the

15       causes, of action arose for the recovery of a penalty iuiposed by statute. See CAL. C.C.P.             tJ


16       393(a); 36 U.S.C. tJ 220541. Venue is also appropriate iu this county because San Diego County
17       is the couuty iu which the causes, or some part   of the causes, of actiou arose fiom the acts of a
18      public officer or person in virtue of the office. See CAL. C.C.P. f 393(b).
19                                       IV. FACTUAL BACKGROUND
20      A.      February 2021: First Allegation of liIlsconduct, Refuted by All Percipient
                Witnesses to the Incident, Still Pending After 23 AIonths
21
                 22.     Plaiutiff is a renowued equestriau show jiunper. Plaiutiff rode for the Olympic
22
        team for the Islamic Republic of Iran. With an accoinplished career as a trainer in equestriau
23
         sports, Plaintiff trains World Cup athletes, iuany of whom aspire to ride on Nations Cup and
24
         Olympic Teauis. Under the name Nilfonishau Equisport Eveuts, Plaiutiff is ciureutly liceused
25
        with the United States Equestriau Federatiou ("USEF") to            tin   18   weeks of horse shows in
26

27

28
         CASE No.

                                          COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.14 Page 8 of 22




         California. Plaintiff is a member of the USEF, and as such, he is subject to the discipliuary

        jurisdiction of the SafeSpoit Code.

                1.  In another SafeSport investigation, Plaintiff provided a witness account
                    supportive of the accused, but contrary to SafeSport's agenda to find for the
                    claimant in that matter.
                23.     Iu 2020, SafeSport iuvestigated a claun agaiust au equestriau iuvolving au

         alleged iucideut that occurred 25 years ago ("2020 SafeSport Iuvestigatiou"). Plaiutiff provided

         a witness account to SafeSport iu support of the accused. Ou iufortnation and belief, Defendant

        was frustrated aud disturbed that PlaiutiB's accouut refuted the claimaut's allegatious agaiust

        the accused. In part, because of Plaintiff s statements in support of the accused, the principal
10       iuvestigator for SafeSport recouuneuded agaiust pursuiug clauns against the accused.

                24.     Regarding the iuvestigatiou of the claim agaiust the accused referenced in
12      paragraph 23, auother witness contacted by SafeSport reported that the SafeSport iuvestigator
13       attempted to pressme her iuto giviug a statement that supported the claimaut's allegatious, but
14      was uot truthful. She reported that the iuvestigator was "tryiug to put words into my mouth."

15       This witness refused to provide untruthful testimouy, iustead ouly providiug a trtithful account
16       of what she recalled, which also happeued to support the accused.
17
                2. Following    Plaintiffs involvement as a witness in the 2020 SafeSport
18
                    investigation, SafeSport commenced its campaign to target Plaintiff with false
                    allegations provided by a widely discredited claimant.
19              25.     Ou or about February 13, 2021, at an international horse show iu Theuual,
20       California, Claimaut A, au iutoxicated amateur adult equestriau augrily con&outed Plaiutiff

21      with bizarre tlueats aud accusations. Plaiutiff advised her that she was "uot going to last iu this
22      business if [she didu't] get it together." Plaintiff was refeiriug to her obvious iutoxicatiou aud
23       lack of couuuitmeut to the equestidau sport. Several wituesses observed the situatiou and
24      provided written accouuts to SafeSport about Claimant A's accusatious:
25              (A) Wituess 3, who was a close ffiend of Claimaut A aud also knew Plaiutiff, has
26       detailed kuowledge of the precediug events. Specifically, on Febuiary 10, 2021, Plaiutiff "had
27       a kind aud brotherly conversatiou with me [Witness 3] regarding the company I keep. He knows

28
         CASE No.

                                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.15 Page 9 of 22




         that I ain a kind aud professioual young girL He ouly shared this conversation with me out of

         couceiTI for me reachiug my    fill poteutial. [Clauuaut A] has always carried out a 'party
                    girl'ifestyle
                    aud has coufionted/angered multiple people iu the industry while in a drunkeu state.

        During these past two weeks of IIIeimal [the iuteruatioual horse show] her driukiug level had
         iucreased drastically. When [Plaiutiff] aud I spoke, the uame Rich Fellers [who was theu under

         iuvestigation by SafeSport], or auything regardiug that situation, was never brought up. When

        I brought up this conversatiou with [Claunaut A] ou the 12th it was ouly in the effort to help
        her realize her [drinkiug] level was au issue and that somethiug needed to chauge. Rather thau
         self-reflection [Claimaut A] chose to assmne that [Plaiutiff] and others felt this way about her
10       due to the [ongoiug iuvestigation of Rich Fellers]."

                    Witness 3 also provided SafeSpoit a detailed description of Claimant A's coufioutation
12       of Plaintiff ou Febntaiy   13, 2021: "[Claunaut A] had consumed three 13 oz glasses    of wine in
13      VIP duriug the Grand Prix. She was extremely intoxicated and was set on coufrouting Ali
14       [Plaiutiff] over somethiug she assmued had to do with her iuvolvement iu the [ougoing

15       iuvestigation of Rich Fellers], which was completely false. I repeatedly advised her to not
16       coufiont huu, especially iu the dITtuken state she was iu, but she chose to ignore me. She left
17      my barn to go confrout [Plaiutiff] at his baITI. I did uot accompauy her for I still had thiugs to
18       do at my barn. Afler 30 miuutes passed I became concerned that she could have created au

19      uuuecessarily escalated iuteractiou. Out of concein I went over to [Plaintiffs] bain to make
20       sure things were okay. When I arrived [Plaiutiff] was sitting in his car with his wife and

21       speaking with [Wituess 5]. I then asked [Plaintiff] if [Clauuant A] had stopped by, and he
22       iufonned me that she had not. I then explained that [Claunaut A] felt [Plaintiff] did uot like her
23      because of her iuvolvemeut iu the [iuvestigatiou of Rich Fellers]. [Plaiutiff] theu reassured that

24      his thought towards [Claimant A] were formed well before the [Fellers iuvestigation], and
25       snessed lus disgust/discouteut towards [Rich Fellers'] iuvolvement with [the miuor claimant in
26      the Fellers iuvestigation]. As [Plaiutiff] aud I were speakiug [Clauuaut A] stonued up with a

27      purposeful walk. Without hesitation she went iight up [to] the opeu passenger window, where
28
         CASE No.

                                          COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.16 Page 10 of 22




         [Plaintiff] was sittiug, waviug her furger into the car/[Plaiutiff s] face. Yelliug while sltuTiug

         her words, she begau to tell him off sayiug, 'How dare you thiuk that I have a black cloud
         arouud me. Who are you to even think anythiug of me. You don't even kuow the truth of the

         [Fellers iuvestigation]. How dare you thiuk of me beiug the bad guy iu the case. Oh, aud my

         attorney will be in contact with you iu the uext 24 hours.'er entire approach as she spoke was

         aggressive aud in an attackiug manner. In my observatiou, [Plaintiff] then respouded how I feel

         auy normal person would respoud to a coufrontation like that. I observed that he was sttumed,
         offeuded, aud felt disrespected by her approach/words. He then respouded sayiug, 'What are

         you talking about? I have never said auything about your involvetueut iu the [investigation of
10       Rich Fellers]. I didu't even kuow that you were persoually iuvolved. You have come at my wife

         in a disrespectful way ou a uight out (this was at a horse show par+ last year at    Thecal), and
12       start drinking iu VIP at 11:00 am at the latest. Thiugs are goiug to catch up to you; it's only a
13       matter of time. Just you see, you'e uot goiug to last iu this industry for      loug.'e also then
14       spoke to her about her lack of respect in how she speaks. It was theu at this time that [Claimaut
15       A] stormed off leaviug the conversation."
16              Addressiug Claituaut A's alcohol constunption in detail, Wituess 3 coucluded with
17       several supporting remarks: "As someoue who is [Clauuant A'] frieud, aud has a uruch closer

18       relationship with [her] than with [Plaintiff], I deeply feel that her allegations of tlueats are
19       wildly exaggerated aud wrongfully placed ou [Plaiutiff]. I persoually took [his] words, 'Things
20       are goiug to catch up to you; it's only a matter of tune. Just you see,   you'e uot goiug to last in
21       this iudustry for long's hun referriug to the behavior she has shown over the past several year
22       [sic]. As a urajor support for [Claimant A] over the past 7 Iuonths I did uot take [Plaintiff s]

23       words as a threat of future actions he would uudergo, but as a wake up call to her. Just like
24       myself, I took [Plaintiff s] words as him tryiug to show her that her behavior over the years has
25       to change, or it will naturally catch up to her iu a uegative way." "I dou't feel that [Claimaut

26       A'] complaiuts have auy credibility." "I cauuot turu a bliud eye towards the iujustice she is
27

28
         CASE No.

                                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.17 Page 11 of 22




         trying to briug onto [Plaiutiff]." "The work you guys [SafeSpoit] do is far too important to be
         wasted ou false clauns like this."

                (B) Witness 4, who voluntarily submitted a witness statemeut to SafeSport, observed
         the circumstances smrounding the Febiiiary 13, 2021 incideut. A week earlier, Claimaut A
         "was severely iutoxicated at the DIHP horse show aud was disparaging [Wituess 3], who is

         supposedly [Claimant   A'] close friend.   [Plaintiff], beiug the caring person he is, eucouraged

         [Wituess 3] to surrouud herself with positive, likemiuded people, who are, iu fact, real aud

         trustworthy fiieuds." Apparently, Clauuaut A learned of Plaiutiff's conversation with Wituess

         3, "which likely explains why [Claimaut A] angrily approached [Plaiutiff] and threateued hun

10       with legal actiou ou Febiuaiy 13." That day, Claiiuaut A approached Witness 4 aud Plaiutiff,
         while Claimaut A "was clearly iutoxicated, stumbling, aud had a glass of wiue iu her haud."
12       Pointing her finger with tlueateuiug tone, Claimaut A "immediately angrily confronted
13       [Plaintiff] aud said her attoiueys would be coutactiug him to 'clear the air.'" "She theu began
14       sayiug thiugs that made absolutely uo scuse to us." Unknown to Witness 4 aud Plaiutiff at the
15       time, Claimaut A was iuvolved in the Safe Sport investigation of Rich Fellers. Claimant A made
16       repeated refereuce to Rich Fellers, to which Plaintiff respouded, "I have uo idea what you'e
17       talkiug about."
18              (C) Witness 5, who voluntarily submitted a witness statemeut to SafeSport, observed
19       the February 13, 2021 couversation. Accordiug to Witness 5, Claimaut A approached Plaiutiff

20       "armed with a glass of wiue aud threateuing him with legal actiou to 'clear the air.'" Claimaut

21       A, "who was quite intoxicated at the tune and wasn't makmg a lot of sense, took us all by
22       sinpidse. She was sluniug her words aud going ou about how 'the uext couversatiou would be

23       with her   lawyer'ud   that [Plaiutiff] should 'be careful.'" Plaiutiff "tried to get through to

24       [Claimant A] by telling her that she needs to chauge her behavior, iu paiTicular, she should stop
25       her routiue excessive drinking...." "He specifically told her that she wouldn't last loug in the
26       equestrian world if she doesu't start to have respect for the people who kuow more thau her and
27       cau teach her. His only poiut iu the conversation was that she needed to get her life together

28
         CASE No.                                       —   10—

                                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.18 Page 12 of 22




         aud start taking the spoiT seriously if she hopes to achieve auy success." Regarding the Fellers
         iuvestigatiou iu which Claimaut A was somehow iuvolved, Wituess 4 also observed that

         "[i]udeed, at the tune of the conversation, uone of us were even aware of [Claunaut A'   ]   alleged
         role" iu the SafeSport investigatiou of Rich Fellers.

                (D) Witness 6, who voluntarily submitted a statemeut to SafeSport, observed Plaiutiff's

         preceding conversation with Wituess     3   on approximately Febniary 10, 2021, which Wituess 6

         described as "au eucouraging conversation betweeu a mentor aud meutee." Wituess 6 also

         uoted, "I also have had uothing but positive, supportive, eucouragiug, aud extremely

         professional experieuces workiug with the Nilfoinshans."
10              (E) Wituess 7, who voluntarily submitted a stateiueut to SafeSport, iudicated that
         Claimaut A had approached her about her allegations against Plaintif as well as complaiuts or

12       potential complaiuts against other equestriaus. Based on these conversations with Claunaut A,
13       Wituess 7 noted that "I have yet to fiud [Claimaut A] far from disputes ofher owu creation aud
14       Irequeutly heavily iutoxicated."
15              (F) Wituess 8, who voluutarily submitted a statement to SafeSport, reflected ou her
16       dealiugs with Claimaut A aud stated that Claimant A had "lied repeatedly to me," "is of awful
17       character," aud "can uot [sic] be tnisted."

18              26.     Ultimately, Claimant A filed a complaint against Plaintiff with SafeSport
19       alleging that Plaiutiff verbally harassed aud iutiuudated her supposedly because she was a
20       wituess iu the Fellers iuvestigatiou.

21              27.     Followiug Claimaut A's submissiou of her complaiut to SafeSport, SafeSport
22       spoke to Witness 3 by telephone ou Febniaiy 17, 2021. Then, ou February 18, 2021, as quoted
23       above iu paragraph 25(A), Witness 3 scut the SafeSport iuvestigator an email fiuther addressing

24       the underlyiug allegatious. While SafeSport knew that there were other percipient wituesses to
25       Claiinaut A's confrontatiou of Plaiutiff, SafeSport opted not to coutact auy of the other
26       wituesses to conoborate Wituess 3's accouut or check the credibility of Claimaut A's accoimt
27       of the couversatiou.
28
         CASE No.                                         —   11—

                                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.19 Page 13 of 22




                28.     Ou February 19, 2021, one day afler receiviug Witness 3's writteu account of

         the uuderlying iucideut, aud six days afler the iucideut iu questiou, SafeSport provided Notice

         of Allegations aud hupositiou of Temporary Measures agaiust Plaiutiff relating to Claimaut A'
         complaint. The unfouuded allegatious—refuted by every wituess to the coufioutatiou iuitiated

         by Claimaut A—are as follows:
                It was reported to the U.S. Center for SafeSport's Respouse R Resolutiou Office
                that ou Februaiy 13, 2021, you eugaged in Abuse of Process by verbally harassing
                aud intiuudatiug [Claimant A] &om participatiug iu the Ceuter's process
                concernurg [Claimant A'] iuvolvemeut iu an uurelated sexual uuscouduct
                iuvestigatiou iu which you are uot a party. It is fiuther alleged you eugaged iu
                retaliatiou by threateuing [Claiuiant A] with commeuts such as "watch out," aud
                "you dou't know what's coming," aud "you'e uot going to be iu the sport for loug."
10
                29.     The detailed wituess accouuts quoted above demonstrate that Claimaut A'

         allegatious are wholly uufouuded and demoustrably false. Settiug aside the oveiwhehniug
12
         evideuce that Plaiutiffs conduct was appropriate, the allegatious themselves do uot eveu
13
         support the charge of verbal harassment. Uuder the SafeSport Code, only "iepeated or severe"
14
         uuscouduct cau rise to the level of "harassment." SafeSport Code         tJ   IX.D.5. To coustitute
15
         "harassmeut," the uuderlyiug repeated or severe conduct must (a) cause fear, humiliatiou, or
16
         aunoyauce, (b) offeud or degrade, (c) create a hostile euviroiunent,'d) reflect discriuuuatoiy
17
         bias, or (e) violate federal or state law. The uufounded allegatious siiuply do uot support the
18
         charge of harassmeut uuder the SafeSport Code. It is also uoteworthy that "[c]onduct may uot
19
         rise to the level of [h]arassment if it is merely rude (iuadvertently sayiug or doiug something
20
         hurtful), meau (piuposefully sayiug or doiug somethiug     hiutfu, but uot as part of a pattern of
21
         behavior), or arisiug &om conflic or struggle between persous who perceive they have
22
         incompatible views or positious." ld.
23

24

25        A "hostile euviroument" requires misconduct that is "sufficieutly severe, persistent, or pervasive
         such that it iuterferes with, luuits, or deprives any iudividual of the opportunity to participate in
26       any program or activity. Conduct must be deemed severe, persistent, or pervasive fiom both a
         subjective and an objective perspective." SafeSport Code t] IX.C.l.b. "[T]he perceived
27       offensiveuess of a single verbal or written expressiou, staudiug aloue, is typically uot sufficieut to
         constitute a hostile euvironment." Id.
28
         CASE No.                                        —   12—

                                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.20 Page 14 of 22




                30.     With uo prior uotice to Plaintiff aud uo opportunity to explaiu the events of

         February 13, 2021, SafeSport imposed a temporary suspeusiou of Plaiutiff, effective Febmary

         19, 2021. Even assutniug that the inaccurate allegatious against Plaintiff were true, which they

         obviously were uot, there was uo cause for the tetuporary suspeusiou. The underlymg eveuts
         did uot iuvolve uuuors, did not suggest sexual miscouduct, aud did uot create auy threat of

         umniueut danger to auy party or other equestriau. The temporary suspension was a dramatic
         overreactiou to false accusatious by au inebriated equestrian. The suspensiou was clearly

         improper iu light of the evideuce that SafeSport had already received refutiug Clauuaut A'
         coInplaint, but even more improper in light of SafeSport's willful disregard of even minumnn
10       staudards of iuvestigatiou before taking such a puuitive actiou.

                31.     At the tune that he received uotice of the suspensiou, Plaiutiff was coaching
12       multiple, high-level equestriaus at the iuteruational horse show iu Thermal, California. Because
13       of the suspeusiou, Plaiutiff was required to itrunediately abaudou the show grouuds, which
14       damaged his working relationship with his riders aud his persoual aud busiuess reputatious, and
15       caused him to lose income aud suffer severe emotioual distress.
16              32.     SafeSPOIT publicly posted notice that Plaiutiff was suspended from participatiug

17       iu auy event, program, activity, or competitiou. Because SafeSport is primarily associated with

18       iuvestigation of allegations of sexual abuse of miuor athletes, the incorrect—but predictable
19       aud logical—asstunption iu the equestrian couunuuity was that Plaiutiff was iuvolved iu the
20       sexual abuse of a uuuor.      The public uotice aud resultiug iufereuces severely damaged

21       PlaiutifFS professional aud personal reputation, causing him severe emotional distress iu the
22       fouu of auguish, uervousuess, grief, sleeplessuess, auxiety, wouy, shock, and htuuiliatiou.
23              33.     Ou February 19, 2021, Plaiutiff innnediately requested a temporary measures
24       heariug. Plaiutiff noted iu lns request that "[t]hds false informatiou is damaging to my reputation
25       as well as my livelihood, aud I would like to put au eud to this iuuuediately." In accordance

26       with the SafeSport Code, Plaintiff was entitled to a temporary measures heariug within three
27       days (72 hours) of the processing of the request. SafeSport Code       I'1   XIV.40(a). Ahuost two
28
         CASE No.                                        —   13—

                                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.21 Page 15 of 22




         years later, uo such hearing has been afforded to Plaiutiff.       Iustead, SafeSpoit lifted the

         temporary suspeusiou but, notwithstanding wituess accouuts uuauuuously discrediting
         Claimant A's allegatious agauist Plaintiff, refused to close the matter and directed Plaiutiff not

         to coutact Claunaut A or her faiuily.

                34.     The witness accounts of Wituess 4, Witness 5, Wituess 6, Witness 7, and

         Wituess 8 were provided to SafeSport withiu days of the February 19, 2021 notice. As

         previously uoted, dmiug the six days that passed betweeu the mcideut iu question aud the
         imposition of SafeSport's temporary suspeusion of Plaiutiff fiom his professiou, SafeSport

         spoke only with oue witness, Wituess 3, about her obseivation of Claimant A's coul'rontation
10       of Plaiutiff. Iu regard to the accounts offered by Wituess 4, Witness 5, Witness 6, Wituess 7,
         aud Witness 8, to Plaiutiff s knowledge, SafeSpoit has still never reached out to or spokeu with
12       those witnesses over the last two years.
13              35.     Ou February 25, 2021, SafeSport provided a Notice of Additioual Allegatiou:
14       "Fmther iuvestigatiou resulted iu additional allegatious of emotioual misconduct coucenung

15       the same iucideut on February 13, 2021...."         Notwithstanding its receipt of six witness
16       statements addressiug the uufouuded allegations, SafeSport refused to administratively close
17       the Febiiiaiy 2021 allegatious. They remaiu pendiug nearly two years later.

18       B.     Early March 2021: SafeSport Whistlehlower Employees Warn Plaintiff That He Is
                Being Targeted.
19
                36.     On March 7, 2021, Plaintiff received au unsolicited email from whistleblowers
20
         witlun SafeSpoit with the subject line of "Mr. N: SafeSport targeted you." The email includes
21
         refereuce to facts that could uot have beeu kuowu to anyone outside of SafeSpoit, such as the
22
         identity of Plaintiff s SafeSport attoniey (Howard Jacobs) and that SafeSport had previously
23
         interviewed him regarding the iuvestigation of allegations against another equesniau. In this
24
         iuterview, to SafeSport's acute disappoiutment, Plaiutiff squarely aud tuithfully refuted the
25
         claimaut's allegations. The first email Rom the whistleblowers states as follows:
26
                We work inside of SafeSPOIT iu Denver. We must reuiaiu auouymous. We fear for
27              our jobs. You were targeted by SafeSport because you gave favorable evideuce iu
                support of another Respoudent in another equestriau case. As you now hiow,
28
         CASE No.                                       —   14—

                                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.22 Page 16 of 22




                   SafeSpoit is fimdamentally uufair. There is uo actual due process of law. Your
                   uame was destroyed without any notice or hearing. You'e uot alone. Ask Bob
                   McDonald. We iuiderstaud from our media coutacts that a group of female
                   gymnasts in Texas have hired a lawyer to pursue their own complaiuts against
                   SafeSport, but they need your help. Please ask arouud aud fiud out about that group.
                   Their eventual lawsuit might help put au end to SafeSport tyrauuy before anyone
                   else gets hmT. SafeSpoit fires auyoue who raises coucerns about the uufairuess of
                   the process. Ask arouud, you'l learn a lot. SafeSport is full of SJW [Social Justice
                   Warriors] who hate equestriau because the people iu equestriau are 'rich white
                   meu.'A quote we have heard many, iuauy times.) Ask the right people and you'l
                   see the official, internal e-iuails where CEO Colou encouraged staff to participate
                   m BLM protests and to disseminate anti-white, auti-capitalist literature aud videos.
                   SafeSport is led by uuqualified people who have neither the experience or
                   discretion to Inside the ageucy. If you kuew the actual educatiou aud experience of
                   the SafeSport leadership, you'd be shocked. The organizatiou is overwhelmiugly
                   led by augry liberal womeu with a social agenda. We believe Howard Jacobs is a
                   fine person aud a fiue attorney but he is uot the attoruey you aud others need to take
10
                   ou SafeSPOIT iu cotut. SafeSpoit attoITIey Zouies brags about how close he aud
                   Jacobs are. Please dou't share this with auyoue, uot even attorney Jacobs. We don'
                   know what he uught tell attorney Zonies aud that might start another witch hunt.
12                 Like we said, we fear for our jobs. We know that leadership monitors e-mails and
                   phoue calls for leaks. Our pariuioia is justified.
13
                   37.     Subsequeut emails fiom the whistleblowers betweeu May 7 and May 17, 2021,
14
         revealed additioual facts, fiirther establishing Defeudaut's malice and the SafeSport
15
         whistleblowers'redibility:
16
                   (A) "You ueed to kuow that oue womau iu SafeSport, Heather O'Biieu, was behiud the
17
         assault on you. She mauipulates the other weakliugs iuside our coiupauy to do her biddiug."
18
                   (B) "Regardless of who you hire, and you need to hire someoue, aud wheu that lawyer
19
         staiTS   diggiug, the tmth will come out quickly."
20
                   (C) "Many of us here at Sa feSpoit are lawyers. We know bad thiugs aud we see them.
21
         Many of us said that the way you were treated was what we call a tort. We really hope you
22
         uuister the courage aud the resources, hire the right lawyer, aud go after this place."
23
                   (D) "You suuply do not uuderstaud who you are dealiug with. Most of our leaders do
24
         uot care if you are innocent. They only care that you are a wealthy male aud that you must be
25
         diuuuished. Heather O'Brieu is a mau-hatiug, power-huugry zealot. She makes all decisious.
26

27

28
         CASE No.                                          —   15—

                                           COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.23 Page 17 of 22




         She has elimiuated any who oppose her. She'd fire us if sbe kuew we were m contact with you.
         We'e told you all that we kuow.    Your choice is clear. Fight or succumb."

                (E) "[W]e are all investigators who work full time for SafeSport &om our homes. That
         was trite eveu before COVID. (All of us persoually live out [of] state.   We'e only iu Denver
         at the home office at most two or three times a year. I persoually live ou the West Coast. My

         colleagues are scattered all over the U.S.) Fiually, Ms. O'Brieu works from her home iu

         Colorado Spiings as frequeutly as sbe is iu the Deuver office."

                (F) "[A]sk yourself one more thiug, 'How many other people must be hurt before
         someoue stauds up and fights back? '"
10       C.     Late March 2021: Second Allegation of Misconduct, Refuted by Expert Polygraph
                Evidence, Still Pending After 22 Months
                38.     Haviug failed to establish the credibility of Claiuiant A's allegatious against
12
         PlaiutiA; SafeSport trausitioued to developing a uew, but equally spurious, claim agaiust
13
         Plaintiff. On March 30, 2021, SafeSport provided uotice of au allegation based ou a public aud
14
         well-known relationship Plaintiff had with his fouuer girlfiiend (" Claimant B") 14 years piior,
15
         iu 2007, when both parties were adults. On hifouuatiou aud belief, the SafeSport
16
         Whistleblowers who fust contacted Plaintiff ou March 7, 2021, knew at that time that SafeSpoit
17
         was developiug the additional, false allegatiou agaiust Plaiutiff based on his prior relationship
18
         with Claimaut B.
19
                39.     Deterruined to disprove Claiinant B's allegation, Plaintiff took the extraordiuaiy
20
         step of subuutting to a polygraph exaiuiuation, which couclusively demousnated the uew
21
         allegatiou to be false. The polygraph exauuuatiou was conducted by a highly esteemed
22
         examiner with a PhD in Psychophysiology who has been recognized by multiple courts as au
23
         expert in polygraph testiug and bas submitted expert testimouy tluoughout the Uuited States
24
         aud Europe.
25
                40.     Plaintiff cooperated with SafeSport investigators related to the new allegation
26
         based on bis piior relationship with Claiiuant B and provided the polygraph examination results
27

28
         CASE No.                                       —   16—

                                        CoMPLAINT AND DEMAND FQR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.24 Page 18 of 22




         to SafeSport. However, as with the February 2021 investigatiou            of Claunaut A's refuted
         allegatiou, ouce again, SafeSport refused to aduuuistratively close the March 2021

         iuvestigation. It therefore also remaius pending uearly two years later.

         D.     February 2022: Third and Fourth Allegations of hfisconduct, Both Refuted and
                Unsupported by All Witnesses, Still Pending 11 Months Later
                41.        Faciug iucoutrovertible evideuce refutiug the allegations of Claimaut A and
         Claunaut B, on February 17, 2022, SafeSport provided Plaiutiff with—yet agaiu—a Notice of
         Additional Allegations, tkds time assertiug that, in November 2021, Plaintiff supposedly

         comuutted an "abuse of process" by allegedly disclosing the naure of Claituant B as a SafeSport
         claimaut to auother person, Wituess I (referenced above iu paragraph 10). SafeSport also
10
         alleged that, in Feburary 2021, Plaintiff allegedly couunitted an abuse of process by purportedly

         influencing the participation of Witness 3, oue of the many percipient wituesses who provided
12
         SafeSport with a statemeut refutiug Claimant A's account of her druukeu coutroutatiou of
13
         Plaintiff in Febutary 2021.
14
                42.        As he had with the February and March 2021 allegations, Plaintiff refuted the
15
         Febmary 2022 allegations by writteu respouse through his couusel, dated April I, 2022. As
16
         Plaintiff explained, Witness    I   actually told hun that she krrew that Claimant B was a claimaut
17
         against him. Witness I —who was in regular coutact with SafeSport—also claimed that she
18
         was aware of every equestriau SafeSport case that was ongoiug, aud she uamed other subjects
19
         of ougoiug investigations.
20
                43.        Plaintiff fruther explaiued that he did not attempt to influence Wituess 3's
21
         accouut of the eveuts on February 13, 2021. As with other witnesses, Plaiutiff asked that
22
         Wituess    3   put iu writing what she observed about the Febutauy 13, 2021 interaction with
23
         Claimant A. Plaintiff did not suggest to Claimaut A what she should say, and he never tried to
24
         iuflueuce what Witness     3   would report, or has reported, to SafeSport. Never has Witness    3
25
         indicated to Plaiutiff— or more importantly to SafeSport—that the written observations she
26
         subuutted to SafeSport resulted from Plaintiff pressutiug or iuflueuciug her. Moreover, her
27

28
         CASE No.                                           —   17—

                                             CoMPLAINT AND DEMAND FQR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.25 Page 19 of 22




         observatious have beeu coiroborated by multiple other percipieut wituesses to the February 13,

         2021 controntatiou.

                44.     Defendant uever responded to the April     1,   2022 letter from Plaintiff s attorney

         represeutiug him iu the SafeSport iuvestigatious. Agaiu, despite Plaiutiff s cooperatiou with the
         SafeSport iuvestigation, overwhelmiug evideuce subuutted by multiple, credible witnesses, and

         PlaiutifFS correction of others'ccouuts, Defendant refused to administratively close the

         February 2022 allegatious. Ahnost a year has passed siuce the February 2022 allegations first

         arose, aud the iuaccurate clauus remaiu peudiug.

         E.     November 2022: Fifth Allegation of Misconduct, the Details of Which SafeSport
                Refuses to Share with Plaintiff, Still Pending After Three Months
10
                45.     Undoubtedly &ustrated in its iuability to prove any of its peuding allegations

         against Plaiutiff, ou Noveiuber 9, 2022, SafeSport mauufactured yet another Notice of
12
         Additional Allegations aud Contiuuatiou of Temporary Measures. This tuue, SafeSport alleged
13
         that "multiple wituesses observed and/or experienced verbal harassment siuular to allegation
14
         [sic] made by Claiiuaut A," the duniken equestrian who cont1outed Plaintiff in Febniaiy 2021.
15
         SafeSport coutiuued its "uo contact directive," but ouly as to Claimaut A and Claimaut B.
16
         Wituess 2, au equestriau show operator and direct coiupetitor of Plaintiff, is one of the "multiple
17
         wituesses" alleging verbal harassment. Much like Wituess       1, who   was coerced by Ktut Fabrizio,
18
         the SafeSport investigator, to provide a false statement against Plaiutiff, Wituess 2 has uow
19
         coine forward stating that she iutends to contact the iuvestigator, Kurt Fabidzio, "to recaut."
20
                46.     Ou Deceiuber 2, 2022, Plaintiff requested details about the alleged "verbal
21
         harassment" allegedly iuvolviug uiue witnesses. By respouse dated December 12, 2022,
22
         SafeSport declined to provide additioual details. Unwilliug to explaiu the supposed claims
23
         involving Plaintiff or identify the witnesses who allegedly experieuced such "verbal
24
         harassment," SafeSport has prejudiced Plaintiff by uot allowiug huu au oppoittmity to refute
25
         the ill-founded allegations. Notwithstanding SafeSport's refusal to provide Plaintiff with any
26

27

28
         CASE No.                                        —   18—

                                         COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.26 Page 20 of 22




          details of the uew allegatious agaiust him, he has agreed to SafeSport's request to interview

          huu yet agaiu. The iuterview is currently scheduled for January 23, 2022.
                    47.     Over the two years since Defendauts undertook their malicious persecutiou of

Plaintiff Plaiutiff; he has suffered extreme emotional distress, aud his Iueutal health, busiuess, aud

          persoual relationships have suffered greatly.              ha   suffered continuous severe emotioual

          distress, iucludiug auguish, depressiou, anxiety, wouy, sleeplessuess, shock, public

          huuuliation, auger, shame, pervasive stress, raciug hemi, appetite chauges, aud fear of losiug
          his livelihood.

                                              V. CLAIMS FOR RELIEF

 10                                     COUNT I—DECLARATORY JUDGMENT
                    48.     Plaiutiff re-alleges aud iucohporates all precediug pamgraphs.
 12                 49.     Defeudaut SafeSpohi has a legal obligatiou to iuvestigate aud uupose
 13
          discipliuahy actiou iu a mauner that provides procedural due process to the accused. 36 U.S.C.
 14
          hJ   220541(a)(1)(H).
 15                 50.     The SafeSpoff Code also provides Plaiutiff, as a Respoudeut, with procedural
 16       due process protectious, which have uot been afforded luhu dkuiug the years of uufounded
 17       persecutiou of grouudless claims agaiust him. SafeSport Code                 XI.J. For example, the
                                                                                   $
 18       SafeSport Code requires that Defeudaut SafeSport provide Plaiutiff, as a respoudeut, with an
 19
          opporthhnity to be heard during the iuvestigatiou and the ability to challeuge through arbitration
 20       auy temporary measures or sauctious ihuposed by SafeSPOIT. Id.
 21                 51.     Defeudaut SafeSport has breached its obligation to provide procedural due
 22       process to Plaintiff by refusing to disuuss uufounded allegations against Plaintiff that have
 23       remaiued peudiug for ahuost two years aud by coutiuuiug to persecute him ou counived aud
 24       uufouuded claims.
 25                 52.     Defendaut SafeSporPs failure to act iu accordance with statutes aud its
 26       admiuistrative code has occurred as a result of Defeudauts'ctual malice towards aud inteut to
 27       hanu Plaiutiff, to violate his rights, aud to place lus health, well-being, aud safety at risk.
 28
          CASE No.                                         —   19—

                                           COMPLAINT AND DEMAND FOR JURY TRIAL
         Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.27 Page 21 of 22




                     53.         Iu accordauce with section 1060 of the California Code of Civil Procedure,
Plaiutiff               request that the CDIRT cuter a declaratoiy judgmeut requiriug that Defendaut SafeSpoIT

             provide the requisite procedural due process owed to Plaiutif'f by statute aud also terminate its

             allegatious, its uialicious persecution, aud its iuvestigatious against Plaiutiff.
                                           COUNT II—INTENTIONAL INFLICTION OF
                                                    EMOTIONAL DISTRESS
                     54.         Plaiutiff re-alleges and iucorporates all preceding paragraphs.
                     55.         Defendant's targeting aud malicious persecution of Plaiutiff constitutes extreme

             aud outrageous conduct with the iuteution of causing, or reckless disregard of the probability
             of causiug, emotioual distress.
    10
                     56.         Plaintiff has suffered, and coutiuues to suffer, severe or extreme emotional
             distress as the actual aud proxiuiate result of Defeudant's iualicious deprivatiou of due process
    12
             aud other egregious miscouduct. Plaiutiff has suffered coutinuous, severe emotioual distress,
    13
             including anguish, depression, anxiety, wouy, sleeplessness, shock, public humiliatiou, anger,
    14
             shaiue, pervasive stress, racing heaiT, appetite changes, and fear of losing his livelihood.
    15
                     57.         Defeudaut's couduct, as demonstrated by the whistleblower emails aud their
    16
             unwillingness to dismiss the imfouuded aud refuted allegations against Plaintiff, coustitutes
    17
             uialice, as that teiiu is defined by statute. CAL. Crv. ConE f 3294(c)(1). Having acted with
    18
             actual malice, Defeudant is liable to Plaiutiff uuder 36 U.S.C.         II   220541(d)(2). Specifically,
    19
             Defendant's couduct was intended to injure Plaintiff aud/or constitutes despicable conduct,
    20
             which was earned on by Defeudaut with a willfid and couscious disregard for Plaintiff s rights
    21
             aud his persoual safety. CAL. Crv. CODE        II   3294(c)(1). Plaiutiff hereby seeks the recovery of
    22
             exemplary damages 11om Defendaut for the sake of example and by way of punishing
    23
             Defendant for its egregious conduct targetiug aud persecutiug Plaintiff without cause. CAL.
    24
             Crv. CoDE     It   3294(a).
    25

    26

    27

    28
             CASE No.

                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:23-cv-00353-AGS-BLM Document 1-2 Filed 02/23/23 PageID.28 Page 22 of 22




                                         VI. DEIPIAND FOR JURY TRIAL
           58.        Plaiutiff hereby demauds a trial by jury on all issues so triable.
                                            VII. PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff respectfully requests that the Court cuter au order:

                 A.       Fiuding that Defeudaut's couduct was uulawful and was conducted with
                          actual malice as to the rights aud safety of Plaintif, as alleged hereiu;

                 B.       Awarding such declaratory, injtmctive, aud other equitable relief as the Court
                          deems just aud proper;

                 C.       Awarding Plaintiff actual, coIupeusatoty, aud exemplaty damages;

                 D.       Awardiug Plaiutiff pre-judgment aud post-judgmeut iuterest to the fullest
10                        extent allowed by law;

                 E.       Awarding Plaiutiff reasouable attorneys'ees, costs, aud expenses; aud
12               F.       Granting such other relief as the Court deeIus just aud proper.
13

14       Dated: Jauuary 23, 2023                          Respectfully submitted,
15                                                   By: /s/M/chneI A. CnIJde11
                                                         Michael A. Caddell (SBN 249469)
16
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                                           COMPLAINT AND DEMAND FOR JURY TRIAL
